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              1 DONALD SPECTER – 083925                       MICHAEL W. BIEN – 096891
                STEVEN FAMA – 099641                          JANE E. KAHN – 112239
              2 ALISON HARDY – 135966                         ERNEST GALVAN – 196065
                SARA NORMAN – 189536                          LISA ELLS – 243657
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                Attorneys for Plaintiffs
             10
             11                    UNITED STATES DISTRICT COURTS
             12                    EASTERN DISTRICT OF CALIFORNIA
                                AND NORTHERN DISTRICT OF CALIFORNIA
             13        UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             14         PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             15 RALPH COLEMAN, et al.,                        Case No. Civ S 90-0520 LKK-JFM P
             16          Plaintiffs,                          THREE JUDGE COURT
                    v.
             17 EDMUND G BROWN, JR., et al.,
             18          Defendants.
             19 MARCIANO PLATA, et al.,                       Case No. C01-1351 TEH
                         Plaintiffs,                          THREE JUDGE COURT
             20     v.
             21 EDMUND G. BROWN, JR., et al.,
             22          Defendants.

             23
             24          PLAINTIFFS’ APPLICATION FOR LIMITED DISCOVERY AND
                                 ORDER TO SHOW CAUSE RE CONTEMPT
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[666365-1]                                                        Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
[666365-1]              PLAINTIFFS’ REQUEST FOR DISCOVERY AND ORDER TO SHOW CAUSE RE CONTEMPT
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              1         For more than a year Defendants have been under an obligation to take “all
              2 reasonable steps within their power” to meet the deadlines set by this Court in its January
              3 2010 and June 2011 Orders. Stone v. City & Cnty of San Francisco, 968 F.2d 850, 856
              4 (9th Cir. 1992). Yet, there is no indication that Defendants have ever intended to reduce
              5 the population to 137.5% of design capacity by June 27, 2013. Defendants have all but
              6 stated that they have no intention of complying with this part of the Court’s Orders. Defs.
              7 Resp. to August 3, 2012 Second Order Requiring Further Briefing. Instead, they imply
              8 that they are not obligated to comply because they intend to attempt to modify that Order
              9 and seek a higher population density that will not “prohibit Defendants from providing
             10 constitutionally adequate care.” Defs. Resp. at 3. Defendants intend to rely on evidence of
             11 prison conditions that will not occur for more than six months, and plan to file that motion
             12 on June 28, 2013, the day after the population must be reduced to 137.5%. Id. at 10.
             13         This Court recently stated in no uncertain terms that it expected Defendants to take
             14 all necessary steps to comply with its June 30, 2011 Order, notwithstanding Defendants’
             15 stated intent to move to modify that Order. August 3, 2012 Order at 4; Cf. Maness v
             16 Meyers, 419 U.S. 449, 458 (1975) (“We begin with the basic proposition that all orders
             17 and judgments of courts must be complied with promptly. If a person to whom a court
             18 directs an order believes that order is incorrect the remedy is to appeal, but, absent a stay,
             19 he must comply promptly with the order pending appeal. Persons who make private
             20 determinations of the law and refuse to obey an order generally risk criminal contempt
             21 even if the order is ultimately ruled incorrect.”). Despite this Order, Defendants’
             22 subsequent filings made it clear that they will do nothing more even though their own
             23 population projections show that they will not achieve compliance with the final
             24 benchmark. Defs. Response to Aug. 3 Order; Defs.’ Aug. 2012 Status Report at 1 (Plata
             25 Dkt No. 2461) (“there is no need at this time to undertake additional crowding-reduction
             26 measures to achieve compliance”).
             27         In addition, Defendants have refused to provide critical information about
             28 alternative methods of reducing the prison population. Although the Supreme Court held
[666365-1]                                                         Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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                         PLAINTIFFS’ REQUEST FOR DISCOVERY AND ORDER TO SHOW CAUSE RE CONTEMPT
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              1 that it was within this Court’s discretion to order the State to develop “without delay” a
              2 system to identify prisoners suitable for early release, Brown v. Plata, 131 S. Ct. 1910,
              3 1947 (2012), the State has failed to comply with the Court’s order to answer specific
              4 questions on that subject. See Aug. 3 Order at 4.
              5         The Court should not tolerate such willful disobedience with its lawful orders.
              6 First, the Court should order that within 7 days Defendants answer the following questions
              7 posed by the Court in its August 3, Order or show cause why they should not be held in
              8 contempt for refusing to do so:
              9                if the Court ordered defendants “to begin without delay to
                               develop a system to identify prisoners who are unlikely to
             10                reoffend or who might otherwise be candidates for early
                               release,” Plata, 131 S. Ct. at 1947, by what date would they be
             11                able to do so and, if implemented, how long would it take
                               before the prison population could be reduced to 137.5%? By
             12                what other means could the prison population be reduced to
                               137.5% by June 27, 2013? Alternatively, what is the earliest
             13                time after that date that defendants contend they could comply
                               with that deadline?
             14
             15         Second, the Court should order Defendants to periodically provide statistical
             16 information to Plaintiffs for review by their expert so that he can form an opinion on the
             17 measures needed to reach 137.5% by June 27, 2013. The parties should be ordered to meet
             18 and confer about the statistical data that will be provided.
             19         Third, the Court should permit Plaintiffs to take limited discovery designed to
             20 determine what steps Defendants have taken to comply with the Court’s June 30, 2011 and
             21 August 3, 2012 Orders, the population projections that have been produced on those and
             22 all other alternatives considered and what other measures could be taken to safely meet the
             23 population reduction deadlines. Plaintiffs request that the Court order Defendants to
             24 respond within 14 days to the Request for Production of Documents submitted herewith as
             25 Exhibit A, and permit Plaintiffs to take a deposition on these subjects under Federal Rule
             26 Civil Procedure, Rule 30(b)(6).
             27 / / /
             28 / / /
[666365-1]                                                         Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
                                                            2
                         PLAINTIFFS’ REQUEST FOR DISCOVERY AND ORDER TO SHOW CAUSE RE CONTEMPT
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              1         Fourth, the Court should hold a status conference in sixty days on Defendants’
              2 progress in meeting the population deadlines. The Court should order that a representative
              3 of the Governor’s office and the Secretary of the CDCR be personally present at that
              4 hearing.1
              5
              6 DATED: August 22, 2012                 Respectfully submitted,
              7                                        PRISON LAW OFFICE
              8
                                                       By: /s/ Donald Specter
              9                                            Donald Specter
             10
                                                       Attorneys for Plata Plaintiffs
             11
             12 DATED: August 22, 2012                 ROSEN BIEN GALVAN & GRUNFELD LLP
             13                                        By: /s/ Michael W. Bien
             14                                            Michael W. Bien

             15                                        Attorneys for Coleman Plaintiffs
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                 This hearing may be conducted by a single judge or by all three judges. 28 U.S.C.
             27 § 2284(b)(3).
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[666365-1]                                                        Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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                        PLAINTIFFS’ REQUEST FOR DISCOVERY AND ORDER TO SHOW CAUSE RE CONTEMPT
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[666365-1]                                                      Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
                      PLAINTIFFS’ REQUEST FOR DISCOVERY AND ORDER TO SHOW CAUSE RE CONTEMPT
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             12                    EASTERN DISTRICT OF CALIFORNIA
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                       UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             14         PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             15 RALPH COLEMAN, et al.,                         Case No. Civ S 90-0520 LKK-JFM P
             16          Plaintiffs,                           THREE JUDGE COURT
                    v.
             17
                EDMUND G BROWN, JR., et al.,
             18          Defendants.
             19 MARCIANO PLATA, et al.,                        Case No. C01-1351 TEH
                         Plaintiffs,                           THREE JUDGE COURT
             20
                    v.
             21 EDMUND G. BROWN, JR., et al.,
             22          Defendants.

             23                      PLAINTIFFS’ FIRST JOINT SET OF
                                REQUESTS FOR PRODUCTION OF DOCUMENTS
             24
             25 PROPOUNDING PARTIES:               COLEMAN and PLATA PLAINTIFFS

             26 RESPONDING PARTIES:                DEFENDANTS BROWN, CATE, MATOSANTOS and
                                                   ALLENBY
             27
                  SET NUMBER:                      FIRST JOINT SET
             28
[666365-1]                                                           Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
[666365-1]                PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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              1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
              2         PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure Rule
              3 34, Plaintiff Ralph Coleman requests that Defendants BROWN, CATE, MATOSANTOS,
              4 and ALLENBY (“Defendants”) produce all responsive Documents requested herein at the
              5 office of Plaintiff’s counsel, Rosen Bien Galvan & Grunfeld LLP at 315 Montgomery
              6 Street, Tenth Floor, San Francisco, California, 94104. The date of production shall be
              7 thirty (30) days from the date of these Requests, or on such other date as counsel may
              8 mutually agree.
              9                                        INSTRUCTIONS
             10         1.      The following Requests require the production of all responsive documents
             11 within the sole or joint possession, custody, or control of any agents, agencies, boards,
             12 departments, employees, servants, representatives, consultants, counsel, and/or other
             13 persons or entities acting or purporting to act on Defendants’ behalf, or otherwise subject
             14 to the control of any Defendants.
             15         2.      The following Requests are continuing in nature and require prompt
             16 supplemental responses for any and all responsive documents that come into any
             17 Defendant’s sole or joint possession, custody, or control after the service of any initial
             18 responses hereto.
             19         3.      The following Requests require the production of preliminary drafts,
             20 revisions, and/or copies of any such document if the copy is in any way different from the
             21 original.
             22         4.      The following Requests require the production of all transmittal sheets, cover
             23 letters, exhibits, enclosures and attachments to the documents, in addition to the documents
             24 themselves.
             25         5.      Pursuant to Federal Rule of Civil Procedure 34(b), all responsive documents
             26 are required to be produced either: (a) as they are kept in the usual course of business
             27 (together with copies of any file labels or binder covers for the files or binders in which
             28 they are maintained); or (b) organized and labeled to correspond with the categories of the
[666365-1]                                                              Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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[666365-1]                   PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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              1 Requests to which they respond.
              2          6.      If any responsive document is maintained in a computer-readable form, the
              3 document shall be produced: (a) in hard copy form, in a format generally used in the
              4 ordinary course of business; and (b) on disk, tape, or other form of computer storage, with
              5 instructions necessary to convert the information into reasonably usable form (including
              6 the name and version number of the program used to create or read the data).
              7          7.      In construing the Requests herein, the singular shall include the plural and
              8 the plural shall include the singular. A masculine, feminine or neutral pronoun shall not
              9 exclude the other genders, so that the interpretation applied results in the more expansive
             10 production. The terms “and” and “or” shall be construed broadly and expansively as
             11 “and/or,” and shall not be construed to limit the documents or information sought in any
             12 manner.
             13          8.      If any Request demands production of documents that have been lost,
             14 discarded, or destroyed, identify such documents as completely as possible. Such
             15 identification shall include, but is not limited to, a description of the subject matter of the
             16 document, the author of the document, the date of the document’s creation, the date of
             17 disposal, manner of disposal, reason for disposal, person authorizing the disposal and
             18 person disposing of the document.
             19          9.      For any responsive document or portion thereof that is either redacted or
             20 withheld, in whole or in part, on the basis of any assertion of privilege or other asserted
             21 exemption from discovery, furnish a list identifying each document, or portion thereof, not
             22 produced for this reason, together with the following information: (a) the title or identity
             23 of the document; (b) the date of the document; (c) the type or nature of the document;
             24 (d) the identity, title, or responsibilities, and relationship to Defendants of all persons who
             25 either prepared or received the document; (e) the number of pages and attachments; (e) the
             26 type and nature of the privilege or exemption asserted; and (f) the contents or subject
             27 matter of the document, with sufficient detail to explain the basis for the privilege or
             28 exemption asserted (see Fed. R. Civ. P. 26(b)(5)). For any responsive document or portion
[666365-1]                                                               Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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[666365-1]                    PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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              1 thereof that may not properly be redacted or withheld in its entirety, produce each and
              2 every portion thereof to which the claimed privilege or exemption does not apply and
              3 specify, on the face of each such page or portion, the fact and reason for the redaction or
              4 withholding.
              5                                          DEFINITIONS
              6         1.       “DOCUMENT” or “DOCUMENTS” as used herein is intended to have the
              7 broadest possible meaning and to include anything coming within the definition of
              8 “writings” and “recordings” as set forth in Rule 1001(1) of the Federal Rules of Evidence.
              9 The term refers to but is not limited to the product of any method of recording information,
             10 whether by writing or otherwise, including without limitation: any written, electronic, or
             11 computerized files, data or software; memoranda; correspondence; communications;
             12 reports; summaries; studies, analyses; evaluations; notes or notebooks; indices; logs;
             13 books, booklets or binders; pamphlets; calendar or diary entries; ledger entries; press
             14 clippings; graphs; tables; charts; drawings; maps; meeting minutes; photographs;
             15 transcripts; audio or video recordings or tapes; facsimile transmissions; electronic mail
             16 messages; and the like. “DOCUMENT” shall include each copy of any whole or part of a
             17 document on which there appears any marking or deletion which does not appear on the
             18 original or other copies thereof, together with all drafts or notes for the preparation of each
             19 document. If the original of a document is not available, “DOCUMENT” includes any
             20 identical copy of the original.
             21         2.       Unless otherwise indicated, “RELEVANT TIME PERIOD” for the purpose
             22 of these Requests means the time period from January 1, 2010 until the present.
             23         3.       “REFER(S) TO” or “RELATE(S) TO” means constituting, representing,
             24 defining, depicting, concerning, embodying, reflecting, identifying, stating, mentioning,
             25 addressing, or pertaining to the subject matter of the request in whole or in part, directly or
             26 indirectly.
             27         4.       “INCLUDING” means “including, but not limited to,” and is not to be
             28 construed to limit a Request.
[666365-1]                                                               Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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              1         5.       “COMMUNICATIONS” means any recorded transfer of information or
              2 impression, whether it be by digital, electronic, audio, visual, written or other means.
              3         6.       “YOU” and “YOUR” refers to all defendants in this litigation, their agents,
              4 representatives, attorneys, and all other persons or entities acting on their behalf.
              5         7.       “DEPARTMENT” means the California Department of Corrections and
              6 Rehabilitation, including any boards, divisions, units, agencies, agents, servants,
              7 representatives, consultants, or counsel thereof and any predecessor entities thereof,
              8 including the former California Department of Corrections.
              9         8.       “CDCR PRISON” and “PRISONS” means any and all facilities in which
             10 class members in this litigation are or can be incarcerated, including DMH facilities, and
             11 any planned redesigns of, construction to, or renovations of such facilities, and any new
             12 such facilities contemplated by AB 900.
             13         9.       “TIMETABLE” means any DOCUMENT setting forth a calendar, schedule,
             14 chart, table, or any other information that RELATES to the timing for completing any or
             15 all phase(s) of the subject matter of the request.
             16         10.      “COMMUNICATION” or “COMMUNICATIONS” means any exchange or
             17 transfer of information between two or more natural persons, any units of government,
             18 (including governmental agencies or local heads of government), nonprofit organizations,
             19 public interest groups, associations, quasi-public entities, and all other forms of legal
             20 entities, whether written, oral, or in any other form.
             21                                REQUESTS FOR PRODUCTION
             22 REQUEST FOR PRODUCTION NO. 1:
             23         ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to prison
             24 population projections or estimates developed, consulted or relied upon by YOU in
             25 estimating or predicting the prison population and/or crowding reductions to be achieved
             26 or attempted during the RELEVANT PERIOD in the following subcategories:
             27         a.       RELATED to the legislation YOU referred to as “Senate Bill 19 (2009),
             28 effective January 2010” in YOUR filing with this Court of June 7, 2011 (Coleman Docket
[666365-1]                                                               Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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[666365-1]                    PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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              1 No. 4016).
              2          b.      RELATED to the legislation YOU referred to as “Senate Bill 1399, effective
              3 January 1, 2011” in YOUR filing with this Court of June 7, 2011 (Coleman Docket No.
              4 4016).
              5          c.      RELATED to the legislation YOU referred to as “Senate Bill 1266, effective
              6 January 1, 2011” in YOUR filing with this Court of June 7, 2011 (Coleman Docket No.
              7 4016).
              8          d.      RELATED to the legislation YOU referred to as “Assembly Bill 109, signed
              9 into law on April 4, 2011” in YOUR filing with this Court of June 7, 2011 (Coleman
             10 Docket No. 4016).
             11          e.      RELATED to the legislation YOU referred to as “AB 117” in YOUR filing
             12 with this Court of July 20, 2011 (Coleman Docket No. 4043).
             13          f.      RELATED to the legislation YOU referred to as “AB 118, Act of June 30,
             14 2011, Ch. 40, § 3” in YOUR filing with this Court of July 20, 2011 (Coleman Docket No.
             15 4043).
             16 REQUEST FOR PRODUCTION NO. 2:
             17          ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to
             18 STUDIES, REPORTS, PROJECTIONS, OR ESTIMATES of prison population
             19 projections or trends developed by the Office of Research for the California Department of
             20 Corrections and Rehabilitation during the RELEVANT PERIOD.
             21 REQUEST FOR PRODUCTION NO. 3:
             22          ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to
             23 STUDIES, REPORTS, PROJECTIONS, OR ESTIMATES of prison population
             24 projections or trends developed by the Population Management Unit of the Division of
             25 Adult Institutions for the California Department of Corrections and Rehabilitation during
             26 the RELEVANT PERIOD.
             27 REQUEST FOR PRODUCTION NO. 4:
             28          ALL DOCUMENTS and COMMUNICATIONS that REFER or RELATE to
[666365-1]                                                               Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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[666365-1]                    PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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              1 STUDIES, REPORTS, PROJECTIONS, OR ESTIMATES developed during the
              2 RELEVANT PERIOD regarding the data consulted or relied on in preparing all of the
              3 Status Reports filed by YOU pursuant to the Court’s January 12, 2010 and June 30, 2011
              4 Orders.
              5
              6 DATED: August 22, 2012                 PRISON LAW OFFICE
              7                                        By: /s/ Donald Specter
              8                                            Donald Specter

              9                                        Attorneys for Plata Plaintiffs
             10
             11 DATED: August 22, 2012                 ROSEN BIEN GALVAN & GRUNFELD LLP
             12                                        By: /s/ Michael W. Bien
             13                                            Michael W. Bien

             14                                        Attorneys for Coleman Plaintiffs
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[666365-1]                                                           Nos. Civ S 90-0520 LKK-JFM P, C01-1351 TEH
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[666365-1]                PLAINTIFFS’ FIRST JOINT SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
